Case 3:10-cr-00183-B         Document 279        Filed 08/15/14      Page 1 of 1     PageID 1064



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
                Plaintiff                         §
                                                  §           CRIMINAL ACTION NO.:
V.                                                §           3:10-CR-183-B (01)
                                                  §
MARTHELLA BROADUS,                                §
                                                  §
                Defendant.                        §

              ORDER ACCEPTING FINDINGS AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE

         After making an independent review of the pleadings, files, and records in this case and of

the Findings, Conclusions, and Recommendation of the United States Magistrate Judge dated July

11, 2014, the Court finds that the Findings, Conclusions, and Recommendation of the Magistrate

Judge are correct, and they are accepted as the Findings, Conclusions, and Recommendation of the

Court.

         IT IS, THEREFORE, ORDERED that the Findings, Conclusions, and Recommendation

of the United States Magistrate Judge are accepted.

         SO ORDERED this 15th day of August, 2014.




                                              _________________________________
                                              JANE J. BOYLE
                                              UNITED STATES DISTRICT JUDGE
